      Case: 1:16-cv-04557 Document #: 106 Filed: 06/07/18 Page 1 of 3 PageID #:249



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ANTONIO PERRY,                                       )
                                                     )
         Plaintiff,                                  )
                                                     )     Case No.: 1:16-cv-04557
                 v.                                  )
                                                     )     Honorable Judge Charles P. Kocoras
Correctional Officer DOROTHY STARKS, in              )
both her individual and her official capacity; and   )     JURY DEMANDED
Correctional Officer WILLIE PARTEE, in both          )
his individual and his official capacity,            )
                                                     )
         Defendants.                                 )

                                      NOTICE OF FILING

To:      See attached service list.

        PLEASE TAKE NOTICE that on the 7th day of June, 2018, the Plaintiff,
ANTONIO PERRY, by and through his attorneys, PERL & GOODSNYDER, LTD., caused to be
electronically filed through the United States District Court for the Northern District of Illinois’s
CM/ECF System, his CERTIFICATE OF SERVICE OF DISCOVERY in the above-captioned matter, a
true and accurate copy of which is attached hereto, and served upon all attorneys of record as set
forth in the Certificate of Service which follows.


                                                      ALLEN R. PERL
                                                      Attorney for the Plaintiff

                                              By:     /s/ Allen R. Perl
                                                      Allen R. Perl, ARDC No.: 6191920
                                                      Vlad V. Chirica, ARDC No.: 6320436
                                                      PERL & GOODSNYDER, LTD.
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                                CERTIFICATE OF SERVICE

TO:    See attached Service List.

        I, an attorney under oath, hereby certify under penalties as provided by law pursuant to §1-
109 of the Illinois Code of Civil Procedure, that I caused the following documents of the Plaintiff,
ANTONIO PERRY:

       (1)     Notice of Filing
       (2)     Certificate of Service
       (1)     Plaintiff’s Second Set of Rule 33 Interrogatories to Defendants
       (2)     Plaintiff’s Second Set of Rule 34 Document Requests to Defendants

       to be sent to each attorney to whom directed at their respective addresses via:

   X   Via the United States District Court for the Northern District of Illinois’s CM/ECF
       System, by electronically filing the same 7th day of June, 2018 and causing it to be
       electronically served to all parties of record.


Dated: June 7, 2018                           /s/ Allen R. Perl
                                              Allen R. Perl, ARDC No.: 6191920
                                              Vlad V. Chirica, ARDC No.: 6320436
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                                   SERVICE LIST

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